         Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 1 of 18




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA



Dr. Javier Vazquez D’Elia and                          )
Mrs. Candy Vazquez, on their own behalf,               )
and on behalf of Colton Vazquez                        )               Civil Action
                                                       )
                       Plaintiff,                      )                     2:21-cv-500
                                                                       No. _______________
                                                       )
               v.                                      )
                                                       )               JURY TRIAL REQUESTED
Slippery Rock University,                              )
                                                       )
                                                       )
                       Defendant.                      )
                                                       )
                                                       )
                                                       )


                                            COMPLAINT

       As set forth below, Dr. Javier Vazquez D’Elia and Mrs. Candy Vazquez, on their own

behalf, and on behalf of Colton Vazquez, by and through the undersigned counsel, claim

violations of the Americans with Disabilities Act and its implementing regulations, as well as

Section 504 of the Rehabilitation Act of 1973. Plaintiffs Mr. and Mrs. Vazquez allege that

Defendant Slippery Rock University denied their son an appropriate education, discriminated

against their son on the basis of his disability, retaliated against the protected actions of

Plaintiffs, and committed breach of contract in so doing.


                                 PRELIMINARY STATEMENT

   1. This is an action brought by Dr. Javier Vazquez D’Elia and Mrs. Candy Vazquez, parents

       of Colton Vazquez (“Student”), alleging violations of the Americans with Disabilities Act

       and its implementing regulations and Section 504 of the Rehabilitation Act of 1973.



                                                   1
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 2 of 18




2. Plaintiffs allege that Student was denied appropriate supports and services during his

   enrollment in the Slippery Rock University Rock Life Program.

3. Plaintiffs further allege that the Rock Life Program failed to adequately monitor

   Student’s progress while enrolled, and as a result was deliberately indifferent to Student’s

   needs, further violating Section 504 of the Rehabilitation Act.

4. Plaintiffs are requesting compensatory damages and attorneys’ fees.


                                          PARTIES

5. Plaintiff Candy Vazquez (“C.V.”) is the mother and natural legal guardian of Student,

   and she resides in Pittsburgh, Pennsylvania.

6. Plaintiff Javier Vazquez (“J.V.”) is the stepfather and legal guardian of Student, and he

   resides in Pittsburgh, Pennsylvania.

7. Defendant Slippery Rock University is a public, coeducational university located in

   Butler County, Pennsylvania, and is a member of Pennsylvania’s State System of Higher

   Education.


                            JURISDICTION AND VENUE

8. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction

   pursuant to 28 U.S.C. § 1367.

9. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), as Defendant is located

   in this venue and the events giving rise to the claims at issue occurred in the venue.


                              PROCEDURAL HISTORY

10. In June 2020, Plaintiffs filed a timely request for an administrative Due Process Hearing

   with the Office for Dispute Resolution (“ODR”) alleging, among other claims, that



                                             2
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 3 of 18




   Pittsburgh Public Schools (the “District”) failed to appropriately supervise and implement

   the services outlined in Student’s IEP, as required by Section 504 and the IDEA, while

   Student attended the Rock Life Program at Slippery Rock University.

11. As relief, Plaintiffs sought compensatory education for the period of deprivation, as well

   as reimbursement of reasonable attorneys’ fees.

12. A Resolution Session between Plaintiffs and the District was convened pursuant to 34

   C.F.R. §300.51. A Due Process hearing was also scheduled before Hearing Officer

   Michael “Jake” McElligott.

13. Plaintiffs and the District were able to resolve the administrative due process complaint

   amicably, and as a result the Due Process hearing was cancelled.


                              FACTUAL ALLEGATIONS

                            General Background Information

14. Colton Vazquez (“Student”) is a 20-year-old student living in the School District of

   Pittsburgh.

15. Student has been identified as a student with a disability under the Intellectual Disability

   category and has diagnoses of Down syndrome and Apraxia of Speech.

16. In August 2017, prior to the start of Student’s twelfth grade year, the District completed a

   Revaluation Report. At that time, the IEP team determined it was appropriate for Student

   to continue with community-based work, as well as to focus on increasing his

   opportunities to self-advocate.

17. Student’s IEP team also determined that exploration into programming for students

   between the ages of eighteen and twenty-one was appropriate.




                                              3
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 4 of 18




18. One program identified as potentially appropriate was the Rock Life Program at Slippery

   Rock University.

19. Slippery Rock University’s Rock Life Program is a comprehensive transition program

   (CTP), described as a post-secondary education program for students with intellectual

   and developmental disabilities, focusing on academics, vocational, physical activity, and

   social skills.

20. Plaintiffs began investigating the program to determine if it would be an appropriate

   option for Student.


                      Interactions with Slippery Rock University

21. In April 2017, the family received correspondence from Dr. Robert Arnhold, who was

   then the Director of the Rock Life Program. At that time, Dr. Arnhold informed the

   family that students in the Rock Life Program would be provided access to unlimited

   career counseling beginning in the Fall of 2018.

22. Ultimately, it was decided that Student would apply to the Rock Life Program. He was

   notified on October 25, 2017 that he was accepted and was set to begin attending in the

   Fall of 2018.

23. Included in the application materials Student completed was a sample Rock Life Monthly

   Social Log. This document indicated that data would be collected and provided to

   Plaintiffs on a monthly basis confirming the socialization opportunities that Student had

   been provided and engaged in through the program.

24. Further, a sample Student Evaluation Form was shared, which indicated that data would

   also be collected regarding Student’s interactions with his Career Coach.




                                            4
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 5 of 18




25. Additionally, as a student in the Rock Life Program, Student would reside on campus in a

   residence hall. He would also attend academic classes and was to receive the support and

   supervision necessary to enable him to do so successfully.

26. On May 10, 2018, Student’s IEP team met to revise his IEP prior to the start of the Rock

   Life Program. At that time, it was explicitly noted that he would be fully included

   through the Rock Life Program.

27. On September 5, 2018, the District issued a NOREP confirming Student’s placement in

   the Rock Life Program.

28. Given Student’s identified areas of need, as well as his employment and independent

   living goals, Plaintiffs worked to ensure the staff at the Rock Life Program had the

   information necessary to enable them to support Student appropriately.

29. Despite their efforts, it soon became clear to Plaintiffs that the supports they had

   anticipated were not being provided.


                                 Impact of Program on Plaintiffs

30. First, Plaintiffs learned that Student was not being provided socialization opportunities,

   nor was data being collected.

31. In an effort to ensure Student was not denied this element of the college experience,

   Plaintiffs identified two college students not affiliated with the Rock Life Program who

   encouraged Student to attend events on campus with them and their friends. Plaintiffs

   paid these students $21.65 per hour to provide this support.

32. Moreover, Plaintiffs were not provided any data suggesting Student was consistently

   working with a Career Coach.




                                              5
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 6 of 18




33. Further, Plaintiffs later learned that the individuals providing the career coaching, when it

   was provided, were not specifically trained to do so.

34. In addition, Graduate Students in the Adaptive Physical Education Master’s Program

   required Student and his peers in the Rock Life Program to serve as participants in

   Adaptive Physical Education course research work. More specifically, Student was

   required to participate in a program wherein he was forced to ride a two-wheel bicycle,

   despite making clear he was not interested. Rather than making an effort to communicate

   with Student and determine why he was reluctant to engage in this program, staff ignored

   his concerns. In doing so, they failed to recognize that Student was already proficient in

   riding a three-wheel bicycle and did not require any additional instruction.

35. As a result of the Rock Life Program’s failure to secure appropriate Career Coaches or to

   provide adequate Work Based Learning Experiences (“WBLE”) as promised, Plaintiffs

   were forced to secure the services of Evolve Coaching, an outside agency that offers

   college and employment coaching to students with disabilities.

36. When Plaintiffs discovered Student was being denied the WBLE opportunities they had

   been assured were an essential component of the Rock Life Program, they reached out to

   the Office of Vocational Rehabilitation (“OVR”). Through the Pittsburgh office,

   Plaintiffs were able to secure services and opportunities for Student.

37. However, when the Rock Life Program was notified of this, they contacted their local

   OVR office, alleging Student was “unemployable.” As a result, the services were

   withdrawn and Student was denied any WBLE opportunities during the remainder of his

   time in the Rock Life Program.




                                              6
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 7 of 18




38. In addition to being inappropriate, the Program’s contention that Student was

   “unemployable” was completely inaccurate. In fact, Student had worked competitively

   throughout his high school career, ultimately qualifying for SSDI on his own work

   history by the age of eighteen.

39. Evolve began working with Student during the Spring 2019 semester, and for the first

   time, Plaintiffs began to note some improvement.

40. Plaintiffs were later informed that Rock Life Staff had begun taking Student to

   counseling appointments, attending the sessions with him, and obtaining confidential

   information as a result.

41. Despite their participation in the sessions, the staff failed to share any relevant

   information with Plaintiffs, thereby preventing them from ensuring Student received the

   support that he required. Given the staff’s unwillingness to permit Student to cultivate

   independence in appropriate ways, their failure to share this essential information with

   Plaintiffs was even more frustrating.

42. Additionally, Plaintiffs learned that Student was not being provided the supports outlined

   in his IEP. As a result, he was often late for class, was unable to properly purchase meals

   for himself in the dining hall using his meal plan, and could not access the assistive

   technology on his iPad that he needed in his academic courses.

43. Despite sharing with Rock Life Program staff prior to Student’s enrollment that he

   required assistive technology, such as the iPad, to access his educational programming,

   this support was not provided. In fact, although Plaintiffs explicitly requested that Student

   be provided instruction on the use of email, this was entirely ignored. Rather, staff failed




                                               7
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 8 of 18




   to even upload the appropriate software onto Student’s iPad that he required to access

   instruction, and never worked with Student on the appropriate use of technology.

44. Further, Plaintiffs also discovered that, rather than being fully included as the Program

   had advertised, Student was being forced to retake academic courses he had previously

   completed in high school. These classes were completely segregated, thus denying

   Student the opportunity to engage with his peers.

45. Even more troubling, Student regressed in several areas as a result of his time in the Rock

   Life Program. For example, prior to his attendance Student was able to travel

   independently in the community, utilizing public transportation, air travel and

   international travel. However, Rock Life staff ignored this, instead walking Student to

   class each day. As a result, Plaintiffs were forced to again work with Student to redevelop

   this skill upon his withdrawal from the Program.

46. Once in class, staff failed to provide Student any academic support, which was an

   identified area of need.

47. Despite insisting on walking Student to class, when he truly required assistance in this

   area he was again ignored. One particularly upsetting example occurred when Student

   became ill and thus had to make an appointment at the campus health center. Staff

   escorted Student to his initial appointment, but when the follow-up was to occur he was

   not supported. As a result, he missed the appointment, and Plaintiffs were ultimately

   required to pick him up from campus, as he had developed pneumonia and it was not

   diagnosed at the campus health center.

48. Plaintiff C.V. was forced to spend hours attempting to coordinate additional services and

   supports for Student to enable him to access the minimal programming being provided by




                                             8
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 9 of 18




   the Rock Life Program. Absent Plaintiff’s advocacy and the resources she was able to

   secure, Student would have been isolated and excluded.

49. Ultimately, Plaintiffs were forced to make the difficult decision to locate an alternative

   program for Student. As a result of Slippery Rock University’s failure to appropriately

   supervise and support Student, he was denied an entire year of educational services and

   supports.

50. Moreover, Plaintiffs were forced to use their own funds to secure the college student

   mentors who worked with Student as described above, as well as the support of Evolve.


                 COUNT I: RETALIATION UNDER SECTION 504

51. Plaintiffs incorporate the allegations in paragraphs 14 through 50 above as though fully

   set forth herein.

52. Section 504 of the Rehabilitation Act provides specific protections for parents who seek

   educational services for their children. 34 C.F.R. 100.7(e).

53. In Lauren W. ex rel. Jean W. v. DeFlaminis, the Court established a three-part test: (1)

   did the parent engage in protected activities; (2) was the parent the target of adverse

   action by the school; and (3) was there a causal connection between the protected activity

   and the retaliation. 480 F.3d 259, 267 (3d Cir. 2007).

54. First, as previously described, Plaintiffs reached out to the Pittsburgh OVR office to

   secure services and opportunities for Student that were not being provided through the

   Rock Life Program. Parents advocating for Student’s work and learning experiences is a

   statutorily protected activity.




                                             9
         Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 10 of 18




   55. Second, upon learning of Plaintiff-parents’ outreach to OVR, the Rock Life Program

       contacted the local OVR office and alleged that Student was “unemployable.” This was

       an obvious adverse action on the part of the Program against Plaintiffs.

   56. Third, this retaliation against Plaintiffs’ protected activity resulted in OVR services being

       withdrawn and Student being denied any WBLE opportunities for the remainder of his

       time at the Program. This illustrates a clear causal connection between the protected

       activity of advocating for Student and Defendant’s retaliation.

   57. Plaintiffs, therefore, were the target of adverse action in the form of Defendant telling

       OVR that Student was not employable, despite Student’s work history that definitively

       shows otherwise.

   58. Upon information and belief, Defendant receives federal funding.

   59. The record supports Plaintiffs’ retaliation claim, and thus, Defendant violated the rights

       provided them by the implementing regulations of Section 504.

WHEREFORE, Plaintiffs, by and through their attorneys, demand judgment for compensatory

and punitive damages against Defendant together with court costs, attorneys’ fees, interest, and

all other relief permitted by the Court.

        COUNT II: VIOLATION OF SECTION 504 OF THE REHABILITATION
               ACT OF 1973 RELATED TO PLAINTIFFS C.V. & J.V.

 COUNT III: VIOLATION OF TITLE II OF THE AMERICANS WITH DISABILITIES
                 ACT RELATED TO PLAINTIFFS C.V. & J.V.

   60. Plaintiffs incorporate the allegations in paragraphs 14 through 59 above as though fully

       set forth herein.

   61. The same standards govern both the Section 504 and the ADA claims. S.H., 729 F.3d at

       260. Thus, Counts III and IV will be considered together here.




                                                10
        Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 11 of 18




   62. A plaintiff asserting an associational discrimination claim under Section 504 and Title II

       of the ADA must plausibly allege:

               (1) a logical and significant association with an individual with disabilities; (2)
               that a public entity knew of that association; (3) that the public entity
               discriminated against them because of that association; and (4) they suffered a
               direct injury as a result of the discrimination.

Schneider v. Cnty. of Will, 190 F. Supp. 2d 1082, 1091 (N.D. Ill. 2002) (citing 28 C.F.R. §

35.130(g)).

   63. The first two elements of an associational discrimination claim are easily met in the

       present matter. Plaintiffs C.V. and J.V. are Student’s parents. Furthermore, Defendant

       clearly knew of this association.

   64. Defendant discriminated against Plaintiffs C.V. and J.V. because of their association with

       Student by continuously failing to provide sufficient supervision and support, despite

       Plaintiffs C.V.’s and J.V.’s constant efforts and requests, to allow Student to access

       Defendant’s programming.

   65. Defendant ignored Plaintiffs C.V.’s and J.V.’s concerns, which directly resulted in

       Student being denied the benefits of Defendant’s program in the same way as his peers

       without disabilities.

   66. As a result of Defendant’s actions described in this Complaint, Plaintiff C.V. was forced

       to expend significant time, energy, and effort in securing appropriate supports for

       Student. This negatively impacted her ability to work, and also created significant

       emotional strain.

   67. Plaintiff J.V. also suffered direct injury as a result of the discrimination. He was forced to

       witness both his wife and son suffer because of Defendant’s actions, which significantly

       impacted his mental and physical health.



                                                 11
        Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 12 of 18




   68. Therefore, Plaintiffs C.V. and J.V. have suffered discrimination on the basis of their

       association with Student.

     WHEREFORE, Plaintiffs respectfully request that this Court find that Defendant

discriminated against C.V. and J.V. based on their association with an individual with a

disability and award Plaintiffs all remedies available under Section 504 and the ADA for these

violations, including monetary damages and attorneys’ fees and costs.

        COUNT IV: VIOLATION OF SECTION 504 OF THE REHABILITATION ACT:
                   DELIBERATE INDIFFERENCE DISCRIMINATION

            COUNT V: VIOLATION OF TITLE II OF THE AMERICANS WITH
          DISABILITIES ACT: DELIBERATE INDIFFERENCE DISCRIMINATION

   69. Plaintiffs incorporate the allegations in paragraphs 14 through 68 above as though fully

       set forth herein.

   70. Section 504 prohibits disability discrimination by recipients of federal funds. The statute

       provides that:

               No otherwise qualified individual with a disability in the United States . . . shall,
               solely by reason of her or his disability, be excluded from the participation in, be
               denied the benefits of, or be subjected to discrimination under any program or
               activity receiving Federal financial assistance or under any program or activity
               conducted by any Executive agency[.]

               29 U.S.C. § 794(a).
   71. Compensatory damages are an available remedy under Section 504 based on a showing

       of deliberate indifference discrimination. S.H. ex rel. Durrell v. Lower Merion School

       District, 729 F.3d 248, 260-65 (3d Cir. 2013).

   72. Section 202 of the ADA similarly states: “[N]o qualified individual with a disability

       shall, by reason of such disability, be excluded from participation in or be denied the

       benefits of the services, programs, or activities of a public entity, or be subjected to

       discrimination by any such entity.” 42 U.S.C. § 12132. This standard applies even to


                                                 12
     Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 13 of 18




   entities that do not receive Federal funds. Id.

73. The same standards govern both the Section 504 and the ADA claims. S.H. ex rel.

   Durrell v. Lower Merion School District, 729 F.3d 248, 260 (3d Cir. 2013). Thus, Counts

   I and II will be considered together here.

74. The ADA also permits the award of compensatory damages based on a showing of

   intentional discrimination. Id. at 260-65.

75. Upon information and belief, Defendant receives federal funds and is, therefore, a

   covered entity within the meaning of Section 504 and the ADA.

76. Student has a disability that substantially limits and affects his major life functions, and

   he is, therefore, a person with a disability within the meaning of Section 504 and the

   ADA.

77. Courts have generally applied a two-part standard for deliberate indifference wherein a

   plaintiff requests compensatory damages, requiring both (1) “knowledge that a harm to a

   federally protected right is substantially likely,” and (2) “a failure to act upon that

   likelihood.” S.H. ex rel. Durrell v. Lower Merion School District, 729 F.3d 248, 263 (3d

   Cir. 2013).

78. Deliberate indifference “does not require a showing of personal ill will or animosity

   toward the disabled person. . . . However, deliberate indifference must be a deliberate

   choice, rather than negligence or bureaucratic inaction.” Id. (citations omitted) (internal

   quotation marks omitted).

79. Student has a federally protected right as a student with a disability to have access to

   educational programming in the same way as other peers. It is substantially likely that not

   having access to an educational program will result in harm.




                                              13
    Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 14 of 18




80. Student was not able to access Defendant’s educational program due to his disabilities.

   He was denied appropriate accommodations to address his Down syndrome and Apraxia

   of Speech.

81. Defendant was made aware of Student’s disability when Plaintiffs first inquired about

   enrolling Student in the Program and was provided not only with an updated IEP in

   anticipation of his enrollment for Fall 2018 semester, but also with a NOREP

   implemented through the District on September 4, 2018.

82. Despite this knowledge and possession of a legal document, Defendant did not offer

   Student the supports required.

83. Therefore, the first prong of the deliberate indifference standard is met, as Defendant had

   knowledge that Student was an individual with a disability, and that without proper

   support and accommodations, Student would be unable to access Defendant’s educational

   programming, resulting in the harm of Student not receiving the education and benefits of

   the Program.

84. Despite this knowledge, Defendant failed to act to mitigate this harm. Instead, Defendant

   kept Student segregated from non-Program students, did not install the proper software

   onto Student’s assistive technology device (ATD) to allow him access to Program

   materials, did not provide Student with trained Career Counselors, did not provide

   adequate assistance to and from medical appointments, and did not provide Student with

   socialization opportunities.

85. Student was denied the benefits of Defendant’s educational program when Defendant

   failed to provide the accommodations to which he was entitled, despite his Section 504




                                            14
         Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 15 of 18




       eligibility. As a result, he was denied a benefit provided to all students – an appropriate

       education – solely because of his disabilities.

   86. Defendant knew that this action would result in harm to Student, as Student required the

       supports identified by the District prior to Student’s placement in Defendant’s program to

       succeed in an educational setting.

   87. In other words, Defendant made the deliberate choice to not to provide Student with

       appropriate supports and accommodations, despite knowing this would harm Student.

   88. As a result, per the requirements of the second prong of the deliberate indifference

       standard, Defendant elected to deny Student supports, thereby discriminating against him

       under Section 504 and the ADA.

WHEREFORE, Plaintiffs, by and through their attorneys, demand judgment for compensatory

and punitive damages against Defendant together with court costs, attorneys’ fees, interest, and

all other relief permitted by the Court.


                            COUNT VI: BREACH OF CONTRACT

   89. Plaintiffs incorporate the allegations in paragraphs 14 through 88 above as though fully

       set forth herein.

   90. To establish a breach of contract claim under Pennsylvania law, a party must establish:

       (1) the existence of a contract; (2) a breach of duty imposed by the contract; and

       (3) damages. Ware v. Rodale Press, Inc., 322 F.3d 218, 225 (3d Cir. 2003).

   91. Upon information and belief, Plaintiffs and Defendant were parties to an enrollment

       agreement, a binding contract. This contract is indicated by an acceptance letter from Dr.

       Arnhold addressed to Student dated October 25, 2017.




                                                15
    Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 16 of 18




92. In the event that this Honorable Court determines that a written contract does not exist,

   Plaintiffs contend that an implied contract existed between the parties.

93. A contract implied is one where the parties assent to the formation of a contract, but

   instead of being expressed in words, the intention to infer obligation is inferred from the

   conduct of the parties in light of surrounding circumstances including a course of

   conduct. Highland Sewer and Water Authority v. Forest Hills Mun. Auth., 797 A.2d 385,

   391 (Pa. Cmwlth. 2002), citing Crawford’s Auto Ctr., Inc. v. Com., Pa. State Police, 655

   A.2d 1064 (Pa. Cmwlth. 1995).

94. Defendant breached the duty owed to Plaintiffs when it failed to fulfill program promises.

95. Defendant did not collect nor share data with Plaintiffs regarding Student’s socialization

   opportunities. This conflicts with the Rock Life Monthly Social Log provided to

   Plaintiffs as part of the application materials, which stated that such data would be

   collected and provided to Plaintiffs on a monthly basis.

96. Defendant did not integrate Student’s academic workload with the general university

   population. This violates the explicit agreement made in advance of Student’s enrollment

   that he would be fully included.

97. Defendant did not provide trained coaches for Student’s career coaching, nor did

   Defendant provide any data indicating that Student was consistently working with a

   Career Coach. This conflicts with the application material that stated data would be

   collected and shared with Plaintiffs regarding Student’s interactions with his Career

   Coach.




                                            16
          Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 17 of 18




   98. Defendant did not provide support regarding Student’s ATD, and staff neither uploaded

       software onto the ATD for Student to access instruction nor trained him on how to use it.

       Additionally, it prevented Student from accessing needed materials for academic courses.

   99. Defendant did not assist Student with money and spending, resulting in Student’s

       inability to properly purchase meals for himself in the dining hall using his meal plan.

       This violates the supports outlined in Student’s IEP, which Defendant agreed to

       implement by accepting Student into its program.

   100.        Because of this breach, Plaintiffs suffered numerous damages. Student was

       deprived of socialization opportunities. Outside career coaching through Evolve

       Coaching had to be sought and obtained at Plaintiffs’ own expense. Students not

       affiliated with the program had to be hired by Plaintiffs, at their own expense, to

       encourage Student to attend on-campus events. Student was prevented from having

       proper access to academic materials. Student was denied the opportunity to learn money

       skills and independent meal planning.

   101.        The record supports Plaintiffs’ breach of contract claim.

WHEREFORE, Plaintiffs, by and through their attorneys, demand judgment for compensatory

damages against Defendant together with court costs, attorney’s fees, interest, and all other relief

permitted by the Court.


                                   REQUEST FOR RELIEF

Wherefore, Plaintiffs respectfully request this Court enter an Order:

   1. Assuming jurisdiction of this case;

   2. Declaring that the Defendants’ actions constituted retaliation against Plaintiffs C.V. and

       J.V. under Section 504 and the Americans with Disabilities Act;



                                                 17
        Case 2:21-cv-00500-WSS Document 1 Filed 04/14/21 Page 18 of 18




   3. Awarding compensatory damages for Defendant’s violations under Section 504 and the

       Americans with Disabilities Act;

   4. Awarding monetary damages to Plaintiffs to address the emotional, mental, and physical

       anguish and distress experienced as a result of the Defendant’s violation of Section 504

       and the Americans with Disabilities Act;

   5. Reimbursement of the cost of the college student mentors hired by the family;

   6. Reimbursement of the cost of the career counseling provided by Evolve Coaching;

   7. Reimbursement of attorneys’ fees and costs; and

   8. Such other relief as this Court deems just and proper.



                                                    Respectfully Submitted,


                                                    /s/ Kristen C. Weidus
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Date: April 15, 2021




                                               18
